Case 1:22-cv-10904-JSR Document 238-28 Filed 07/25/23 Page 1 of 7




                 EXHIBIT 53
Case 1:22-cv-10904-JSR Document 238-28 Filed 07/25/23 Page 2 of 7
Case 1:22-cv-10904-JSR Document 238-28 Filed 07/25/23 Page 3 of 7
Case 1:22-cv-10904-JSR Document 238-28 Filed 07/25/23 Page 4 of 7
Case 1:22-cv-10904-JSR Document 238-28 Filed 07/25/23 Page 5 of 7
Case 1:22-cv-10904-JSR Document 238-28 Filed 07/25/23 Page 6 of 7
Case 1:22-cv-10904-JSR Document 238-28 Filed 07/25/23 Page 7 of 7
